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                                      UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

                                                                             www.flsb.uscourts.gov
                                                       CHAPTER 13 PLAN gndividual Adjustment of Debts^

                               □                                             Original Plan

                               H FIRST                                       Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)

                               □                                             Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

     DEBTOR: Teofilo Hernandez                                    JOINT DEBTOR:                                       CASE NO.: 24-17856-CLC

     SS#: xxx-xx- 8434                                             SS#: xxx-xx-
     I.           NOTICES

                  To Debtors:         Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans and
                                      modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Local
                                      Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of filing
                                      the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
                  To Creditors:          Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                                         be reduced, modified or eliminated.
                  To All Parties:     The plan contains no nonstandard provisions other than those set out in paragraph IX. Debtor(s) must check one box
                                       on each line listed below in this section to state whether the plan includes any of the following:

          The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                                      r~l   Included           (■] Not included
          partial payment or no payment at all to the secured creditor
          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set                     r~|   Included                  Not included
          out in Section III

       Nonstandard provisions, set out in Section IX                                                                  fi1   Included           |~~1   Not included
    II.          PLAN PAYMENTS. LENGTH OF PLAN AND DEBTQRfSV ATTORNEY'S FEE


                 A.      MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
                        fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the tull 10%, any unused
                        amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                        1.     $141.98               for months     1    to 36     ;

                 B,     DEBTORrSV ATTORNEY’S FEE;                                            □ NONE    □ PRO BONO
              Total Fees:                $5,200.00           Total Paid:               $1,600.00         Balance Due:           $3,600.00

              Payable _            $127.78           /month (Months      1    to 28 )

              Payable _      $22.22       /month (Months 29 to 29 )
              Allowedfees underLR 2016-1(B)(2)are itemizedbelow:
              Safe Harbor: $5,000.00 Attorney's Fees + $200.00 Costs = $5,200.00

              Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
    III.         TREATMENT OF SECURED CLAIMS                            □ NONE
                 A. SECURED CLAIMS:                  [f] NONE
                 B. VALUATION OF COLLATERAL;                        g NONE
                 C. LIEN AVOIDANCE @ NONE
                 D. SURRENDER OF COLLATERAL:                            □ NONE
                 Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee,
                     g The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s)
                         request that upon confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in
                         personam as to any codebtor(s) as to these creditors,

                        n Other:


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                                                                            Debtor(s): Teofilo Hernandez                      Case number: 24-17856-CLC

                             Name of Creditor               Last 4 Digits of Account No. Description of Collateral (Address. Vehicle, etc.)
                             Deutsche Bank National         8434                             9947 NW 47th Terr., Doral, FL 33178
                        1.
                             Trust Company, as Trustee
                             for GMACM Mortgage Loan
                             Trust 2005-AR5

            E. DIRECT PAYMENTS                     □ NONE
            Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee.
                The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
                confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
                codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.
                             Namg-0.LCig.di.tPi         Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
                             World Omni Financial Corp. 0561                         2019 Toyota Tacoma
                        1.                                                                   VIN: 3TMAZ5CN8KM079819

IV.         TREATMENT OP FEES AND PRIORITY CLAIMS fas defined in 11 U.S.C. S507 and 11 U.S.C. 5 1322(a)(4)!                                (INONE
V.          TREATMENT OF IIN.SECDRED NONPRIORITY CREDITORS                                      □ NONE
               A. Pay                $0.00        /month (Months      1    to 28 )

                    Pay             $105.56       /month (Months 29        to 29 )

                    Pay             SI27.78       /month (Months 30        to 36 )
                        Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
               B. □ If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
               C. SEPARATELY CLASSIFIED:                     (1 NONE
VI.         STUDENT LOAN PROGRAM                        g] NONE
VII.        EXECUTORY CONTRACTS AND UNEXEIRED LEASES                                       ^ NONE
VIII.       INCOME TAX RETqRNS-AJVP_REFj;jiDS;

                   g] The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an
                             annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
                             Trustee with their filed tax returns is on or before May     15 of each year the case is pending and that the debtor(s) shall
                             provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
                             increases by more than 3% over the previous year’s income. [Miami cases]
IX.        NON-STANDARD PLAN PROVISIONS Q NONE
           g] Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
                  Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.
                 Confirmation of the plan shall not bar Debtor's counsel from filing an Application for Compensation for any work performed
                 before confirmation.

           □      Mortgage Modification Mediation




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                        PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR{S) UPON PLAN CONFIRMATION.

  I declare that the foregoingxhapter 13 plan is true and correct under penalty of perjury.

                                                      /
                                             Debtor                                                      Joint Debtor
             c
                                                          Date                                                                  Date
 Teofilo Hernandez




 /s/ Jose A. Blanco, Esq.
                                                       Date
   Attorney with permission to sign on
    Debtor(s)' behalf who certifies that
    the contents of the plan have been
      reviewed and approved by the
                                    1
                       Debtor(s).


  By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
  order of the provisions in this Chapter 13 plan are identical to those contained In Local Form Chapter 13 Plan and the plan
  contains no nonstandard provisions other than those set out in paragraph IX.




^This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtor(s)' attorney authorizing the
attorney to sign documents on the Debtor(s)' behalf




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